                      Case 1:25-cv-01722                 Document 1-4        Filed 05/30/25       Page 1 of 1

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia

  Public Broadcasting Service; Northern Minnesota                   )
    Public Television Inc., d.b.a. Lakeland PBS                     )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
Donald J. Trump, in his official capacity as President              )
             of the United States, et al.                           )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Department of the Treasury
                                           1500 Pennsylvania Avenue NW
                                           Washington, D.C. 20220




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Z.W. Julius Chen
                                           AKIN GUMP STRAUSS HAUER & FELD LLP
                                           2001 K Street, NW
                                           Washington, DC 20006



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
